Case 0:81-cr-06057-WPD Document 280 Entered on FLSD Docket 08/31/2018 Page 1 ofHH
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                 Case: 18-12707 Date Fi(1ed:
                                          of 2)
                                             08/31/2018 Page:
                                                                                       Aug 31, 2018
                            UNITED STATES COURT OF APPEALS
                                                                                                    MIAMI
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                           August 31, 2018

  Thor Holm Hansen
  PO BOX 25
  3886 DALEN
  DALEN,
  NORWAY

  Appeal Number: 18-12707-G
  Case Style: Thor Hansen v. USA
  District Court Docket No: 0:14-cv-61626-WPD
  Secondary Case Number: 0:81-cr-06057-WPD-1

  The enclosed copy of this Court's order denying the application for a Certificate of Appealability
  is issued as the mandate of this court. See 11th Cir. R. 41-4. Counsel and pro se parties are
  advised that pursuant to 11th Cir. R. 27-2, "a motion to reconsider, vacate, or modify an order
  must be filed within 21 days of the entry of such order. No additional time shall be allowed for
  mailing."

  All pending motions are now rendered moot in light of the attached order.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Bryon Robinson, G
  Phone #: (404) 335-6185

  Enclosure(s)

                                                                  DIS-4 Multi-purpose dismissal letter
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                 Case: 18-12707 Date Filed:
                                      (2 of 2)
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